     Case 2:12-cr-00132-JAD-VCF          Document 210        Filed 05/17/17      Page 1 of 6



                                  81,7('67$7(6',675,&7&2857
                                         ',675,&72)1(9$'$
 
     7KH8QLWHG6WDWHVRI$PHULFD                                   FU-$'&:+
                                                                                   
             3ODLQWLII
                                                                   2UGHU'HQ\LQJ0RWLRQWR9DFDWH
     Y                                                                     6HQWHQFH
     0LFKDHO+DOO                                                        >(&)1RV@
             'HIHQGDQW
 
           )HGHUDOLQPDWH0LFKDHO+DOOZDVFRQYLFWHGRIIRXUFRXQWVRILQWHUIHUHQFHZLWKFRPPHUFHE\
   UREEHU\XQGHUWKH+REEV$FW86&DQGRQHFRXQWRIYLRODWLQJ86&
    F  $ LL ZKLFKLPSRVHVDPDQGDWRU\PLQLPXPVHYHQ\HDUVHQWHQFHHQKDQFHPHQWIRU
   EUDQGLVKLQJDILUHDUPGXULQJDFULPHRIYLROHQFH+DOOUHFHLYHGPRQWKFRQFXUUHQWVHQWHQFHVIRU
   HDFKRIWKHUREEHULHVSOXVDQDGGLWLRQDOVHYHQ\HDUVIRUWKHEUDQGLVKLQJFKDUJH+DOOFRQWHQGVWKDW
   LQWHUYHQLQJODZSDUWLFXODUO\Johnson v. United States²LQZKLFKWKH6XSUHPH&RXUWVWUXFNGRZQ
   WKHUHVLGXDOFODXVHRIWKH$UPHG&DUHHU&ULPLQDO$FW¶VFULPHRIYLROHQFHVHQWHQFLQJHQKDQFHPHQW
   DVXQFRQVWLWXWLRQDO²UHQGHUVKLV F FRQYLFWLRQDQGVHQWHQFHLQYDOLG%HFDXVHWKHSUHGLFDWH
   RIIHQVHWKDWWULJJHUHG+DOO¶V F HQKDQFHPHQWZDV+REEV$FWUREEHU\ZKLFKTXDOLILHVDVD
   FULPHRIYLROHQFHXQGHU F ¶VIRUFHFODXVHUHJDUGOHVVRIWKHFRQWLQXHGYLDELOLW\RILWVUHVLGXDO
   FODXVHDIWHUJohnson,GHQ\KLVPRWLRQ
                                                %DFNJURXQG
           0LFKDHO+DOODQGWKUHHFRGHIHQGDQWVZHUHLQGLFWHGDIWHUDVLQJOHGD\VSUHHRIIRXU
   FRQYHQLHQFHVWRUHDUPHGUREEHULHV7KHWHQFRXQWLQGLFWPHQWFKDUJHGWKHJURXSZLWKIRXUFRXQWVRI
   LQWHUIHUHQFHZLWKFRPPHUFHE\UREEHU\XQGHUWKH+REEV$FW86& ³+REEV$FW
   UREEHU\´ RQHFRXQWRIFRQVSLUDF\WRLQWHUIHUHZLWKFRPPHUFHE\UREEHU\DQGILYHFRXQWVRI
   EUDQGLVKLQJDILUHDUPGXULQJDFULPHRIYLROHQFHLQYLRODWLRQRI86& F ²RQHVSHFLILFDOO\

     
        Johnson v. United States6&W  

                                                   3DJHRI
     Case 2:12-cr-00132-JAD-VCF             Document 210        Filed 05/17/17      Page 2 of 6



    WLHGWRHDFKRIWKHILYHSUHGLFDWHRIIHQVHV$OOIRXUGHIHQGDQWVHQWHUHGJXLOW\SOHDDJUHHPHQWV
    +DOOSOHGWRDOOIRXUUREEHU\FRXQWVDQGWKHVHFRQGRIWKH F FRXQWVZKLFKFKDUJHGKLPZLWK
    EUDQGLVKLQJDILUHDUP³GXULQJDQGLQUHODWLRQWRWKHFULPHRIYLROHQFHFKDUJHGLQ&RXQW7KUHHRI
    WK>H@LQGLFWPHQW´ZKLFKZDVWKHILUVWRIWKH+REEV$FWUREEHU\FKDUJHV+DOO¶VSOHDZDVDFFHSWHG
    DQGKHZDVVHQWHQFHGWRPRQWKVSHUFRXQWFRQFXUUHQWRQWKHUREEHU\FKDUJHV+HDOVRUHFHLYHG
    WKHPDQGDWRU\PLQLPXPVHYHQ\HDUVHQWHQFHUHTXLUHGE\ F  $ LL IRUWKHEUDQGLVKLQJ
    FKDUJHRQWRSRIWKHPRQWKVIRUWKHRWKHUFRXQWVIRUDWRWDOVHQWHQFHRIPRQWKV
               7KH+REEV$FW²ZKLFKZDVWKHEDVLVIRU+DOO¶VVXEVWDQWLYHFKDUJHV²³SURKLELWVDQ\
    UREEHU\RUH[WRUWLRQRUDWWHPSWRUFRQVSLUDF\WRURERUH[WRUWWKDWµLQDQ\ZD\RUGHJUHHREVWUXFWV
   GHOD\VRUDIIHFWVFRPPHUFHRUWKHPRYHPHQWRIDQ\DUWLFOHRUFRPPRGLW\LQFRPPHUFH¶´7KHEDVLV
   IRUKLVUHPDLQLQJFKDUJH86& F VHSDUDWHO\FULPLQDOL]HVXVLQJRUFDUU\LQJDILUHDUPLQ
   UHODWLRQWRD³FULPHRIYLROHQFH´DQGLPSRVHVPDQGDWRU\FRQVHFXWLYHPLQLPXPVHQWHQFHV6HFWLRQ
    F GHILQHV³FULPHRIYLROHQFH´LQWZRZD\V6HFWLRQ F  $ DOVRNQRZQDVWKHVWDWXWH¶V
   ³IRUFHFODXVH´LQFOXGHVDIHORQ\RIIHQVHWKDW³KDVDVDQHOHPHQWWKHXVHDWWHPSWHGXVHRU
   WKUHDWHQHGXVHRISK\VLFDOIRUFHDJDLQVWWKHSHUVRQRUSURSHUW\RIDQRWKHU´6HFWLRQ F  % 
   NQRZQDVWKH³UHVLGXDOFODXVH´RIWKHVWDWXWHHQFRPSDVVHVDQ\IHORQ\RIIHQVH³WKDWE\LWVQDWXUH
   LQYROYHVDVXEVWDQWLDOULVNWKDWSK\VLFDOIRUFHDJDLQVWWKHSHUVRQRUSURSHUW\RIDQRWKHUPD\EHXVHG
   LQWKHFRXUVHRIFRPPLWWLQJWKHRIIHQVH´
              ,QJohnson v. United StatesWKH6XSUHPH&RXUWWHVWHGWKHFRQVWLWXWLRQDOLW\RIWKHUHVLGXDO
   FODXVHRIDQRWKHUVXEVHFWLRQRI² H NQRZQDVWKH$UPHG&DUHHU&ULPLQDO$FW
    ³$&&$´ 8QGHUWKH$&&$³DGHIHQGDQWFRQYLFWHGRIEHLQJDIHORQLQSRVVHVVLRQRIDILUHDUP
   IDFHVPRUHVHYHUHSXQLVKPHQWLIKHKDVWKUHHRUPRUHSUHYLRXVFRQYLFWLRQVIRUDµYLROHQWIHORQ\¶D

     
           (&)1R LQGLFWPHQW 
     
           (&)1R

       
           (&)1R MXGJPHQW 

       
           United States v. Rodriguez)G WK&LU  TXRWLQJ86& D 
     

                                                      3DJHRI
     Case 2:12-cr-00132-JAD-VCF            Document 210        Filed 05/17/17     Page 3 of 6



    WHUPGHILQHGWRLQFOXGHDQ\IHORQ\WKDWµLQYROYHVFRQGXFWWKDWSUHVHQWVDVHULRXVSRWHQWLDOULVNRI
    SK\VLFDOLQMXU\WRDQRWKHU¶´7KH+LJK&RXUWHYDOXDWHGWKHFODXVH¶VYLROHQWIHORQ\GHILQLWLRQXVLQJ
    WKH³IUDPHZRUNNQRZQDVWKHFDWHJRULFDODSSURDFK´ZKLFK³DVVHVVHVZKHWKHUDFULPHTXDOLILHVDVD
    YLROHQWIHORQ\µLQWHUPVRIKRZWKHODZGHILQHVWKHRIIHQVHDQGQRWLQWHUPVRIKRZDQLQGLYLGXDO
    RIIHQGHUPLJKWKDYHFRPPLWWHGLWRQDSDUWLFXODURFFDVLRQ¶´,WFRQFOXGHGWKDW³WKHUHVLGXDOFODXVH
    SURGXFHVPRUHXQSUHGLFWDELOLW\DQGDUELWUDULQHVVWKDQWKH'XH3URFHVV&ODXVHWROHUDWHV´DQGKHOGLW
    YRLGIRUYDJXHQHVV,QWelch v. United StatesWKH&RXUWKHOGWKDWJohnsonLVDVXEVWDQWLYHGHFLVLRQ
    WKDWLVUHWURDFWLYHRQFROODWHUDOUHYLHZ
              +DOOPRYHVWRYDFDWHKLVVHQWHQFHXQGHU86&DUJXLQJWKDWJohnsonUHQGHUVKLV
   VHYHQ\HDUFULPHRIYLROHQFHVHQWHQFHHQKDQFHPHQWXQGHU F XQFRQVWLWXWLRQDO(YHQLI,
   ZHUHWRFRQFOXGHWKDW F ¶VUHVLGXDOFODXVHLVXQFRQVWLWXWLRQDOXQGHUJohnson+DOO¶VPRWLRQIDLOV
   EHFDXVHKLV+REEV$FWUREEHU\FRQYLFWLRQTXDOLILHVDVDFULPHRIYLROHQFHXQGHUVHFWLRQ F ¶V
   IRUFHFODXVH
                                                  'LVFXVVLRQ
   $        +REEV$FWUREEHU\LVDFULPHRIYLROHQFH
             7KH1LQWK&LUFXLWFRQILUPHGDVUHFHQWO\DVODVW\HDUWKDW+REEV$FWUREEHU\TXDOLILHVDVD
   FULPHRIYLROHQFHXQGHUVHFWLRQ F ¶VIRUFHFODXVH,QU.S. v. HowardWKHFRXUWH[SODLQHGLQDQ
   XQSXEOLVKHGGHFLVLRQWKDWWKHUHLVQRZD\WRFRPPLW+REEV$FWUREEHU\ZLWKRXWSXWWLQJWKHYLFWLP
   LQIHDURIbodily KDUP²DQGWKDWWKLVVRUWRIIHDUTXDOLILHVDVDFWXDORUWKUHDWHQHGSK\VLFDOIRUFH

       
         Johnson6&WDW TXRWLQJ86& H  % 
       
      IdDW TXRWLQJBegay v. United States86  
     
        IdDW
     
        Welch v. United States6&W  
     
            (&)1R
     
         United States v. Howard:/DW  WK&LU0D\  XQSXEOLVKHG as
     amended-XQH KROGLQJWKDW+REEV$FWUREEHU\TXDOLILHVDVDFULPHRIYLROHQFHXQGHU
       86& F E\FRPSDULQJLWWRIHGHUDOEDQNUREEHU\XQGHU D DQGUHO\LQJRQUnited
     States v. Selfa)G WK&LU 

                                                    3DJHRI
     Case 2:12-cr-00132-JAD-VCF             Document 210       Filed 05/17/17      Page 4 of 6



    XQGHU F ,WRRUHFHQWO\H[SODLQHGDWOHQJWKZK\DFRQYLFWLRQIRU+REEV$FWUREEHU\
    TXDOLILHVDVDFULPHRIYLROHQFHXQGHU F E\³SODFLQJVRPHRQHµLQIHDURILQMXU\¶WRKLVSHUVRQ
    RUSURSHUW\´WKHGHIHQGDQWXVHVWKHVRUWRI³SK\VLFDOIRUFH´WKDWVDWLVILHV F +DOOKDVQRW
    SHUVXDGHGPHRWKHUZLVH$QGWKH1LQWK&LUFXLWDQG,DUHQRWRXWOLHUVLQWKLVYLHZSRLQW'LVWULFW
    FRXUWVDQGRWKHUFLUFXLWFRXUWV²ERWKEHIRUHDQGDIWHUJohnson²RYHUZKHOPLQJO\DJUHHWKDW+REEV
    $FWUREEHU\TXDOLILHVDVDFULPHRIYLROHQFHXQGHU F ¶VIRUFHFODXVH
                +DOOFRQWHQGVWKDW+REEV$FWUREEHU\FDQEHFRPPLWWHGE\PHUHO\LQVWLOOLQJ³IHDU´LQD
    YLFWLPDQGWKDWWKLVGRHVQRWHTXDWHWR F ¶VGHILQLWLRQ+HDOVRFRQWHQGVWKDW+REEV$FW
    UREEHU\FDQEHFRPPLWWHGZLWKGHPLQLPLVIRUFHZKLFKLVQRWHQRXJKWREH³YLROHQWIRUFH´$VWR
   ZKHWKHURQHFDQFRPPLW+REEV$FWUREEHU\ZLWKWRROLWWOHIRUFHWRTXDOLI\DVWKHVRUWRIYLROHQW
   IRUFHFRQWHPSODWHGE\ F ,DJUHHZLWKWKHZHLJKWRIDXWKRULW\WKDWILQGVWKLVDUJXPHQW³ZKROO\
   XQDYDLOLQJ´(YHQLIWKHUHLVVRPHWKHRUHWLFDOSRVVLELOLW\WKDW+REEV$FWUREEHU\PD\EH

       
            Id.DW±

       
       United States v. Smith:/DW  '1HY0D\  GLVFXVVLRQLQFRUSRUDWHG
       KHUHLQ 

       
         See e.g.U.S.A.v. Dorsey:/DW  &'&DO-XQH United States v.
     Bundy:/DW  '1HY'HF United States v. Hill,)G
      G&LU In re Saint Fleur, )G WK&LU United States v. Crawford
       :/  1',QG-DQ  GHQ\LQJGHIHQGDQW¶VPRWLRQWRGLVPLVVLQGLFWPHQW
     FKDUJLQJKLPZLWK F RIIHQVHEDVHGRQD+REEV$FWUREEHU\ United States v. Pena:/
         6'1<)HE  VDPH United States v. Coleman:/ 
      1',OO$SU  VDPH United States v. Williams)6XSSG± '0H
       $SU  VDPH United States v. McCallister:/  ''&0D\

        VDPH United States v. Barrows:/ ± '1HY-XO\  VDPH United
     States v. Nguyen:/ ± '.DQ$XJ United States v. Davis
       :/  1'&DO1RY see also United States v. Evans,BB)GBB1R
      WK&LU)HE  KROGLQJWKDWIHGHUDOFDUMDFNLQJZKLFKFDQEHDFFRPSOLVKHG³E\IRUFHDQG
       YLROHQFHRUE\LQWLPLGDWLRQ´TXDOLILHVDVDFULPHRIYLROHQFHXQGHU F 

       
          (&)1R
       
      %HFDXVH+REEV$FWUREEHU\TXDOLILHVXQGHUWKHPRUHGHPDQGLQJVWDQGDUGVHWRXWLQJohnson,
       DVVXPHIRUWKLVRUGHUWKDW F ¶VGHILQLWLRQRI³SK\VLFDOIRUFH´UHTXLUHVWKHIRUFHWREH³YLROHQW´

       
        United States v. Johnson:/DW  &'&DO'HF  see also United
     States v. Casas:/DW  6'&DO0DU United States v. Bailey

                                                     3DJHRI
     Case 2:12-cr-00132-JAD-VCF              Document 210         Filed 05/17/17       Page 5 of 6



    FRPPLWWHGZLWKGHPLQLPLVIRUFH²DQG,DPQRWSHUVXDGHGWKHUHLV²+DOOPXVWGHPRQVWUDWHWKDW
    WKHUHLV³DUHDOLVWLFSUREDELOLW\QRWDWKHRUHWLFDOSRVVLELOLW\´WKDWWKLVLVVR³7RVKRZWKDWUHDOLVWLF
    SUREDELOLW\DQRIIHQGHURIFRXUVHPD\VKRZWKDWWKHVWDWXWHZDVVRDSSOLHGLQKLVRZQFDVH%XWKH
    PXVWDWOHDVWSRLQWWRKLVRZQFDVHRURWKHUFDVHVLQZKLFKWKH>@FRXUWVLQIDFWGLGDSSO\WKHVWDWXWH
    LQWKHPDQQHUIRUZKLFKKHDUJXHV´
               +DOOKDVQRWGHPRQVWUDWHGDUHDVRQDEOHOLNHOLKRRGWKDWDQ\RQHFDQEHFRQYLFWHGIRU+REEV
    $FWUREEHU\XVLQJGHPLQLPLVIRUFH+HZDVXVLQJDILUHDUPVRWKHVRUWRIIRUFHKHZDVWKUHDWHQLQJ
    LVIDUIURPGHPLQLPLV$QG+DOOGRHVQRWRIIHUDVLQJOHFDVHLQZKLFKVRPHRQHZDVFRQYLFWHGIRU
    +REEV$FWUREEHU\XVLQJGHPLQLPLVIRUFH,QVWHDGKHUHOLHVRQGLIIHUHQWFULPHVRUFDVHVDERXW
   FRPPRQODZUREEHU\QRQHRIZKLFKGHPRQVWUDWHVWKDWFULPLQDOGHIHQGDQWVXVLQJGHPLQLPLVIRUFH
   DUHEHLQJFRQYLFWHGRI+REEV$FWUREEHU\
              ,WKXVGHQ\+DOO¶VPRWLRQ+LVFRQYLFWLRQIRU+REEV$FWUREEHU\TXDOLILHG²DQG
   VWLOOTXDOLILHV²DVDFULPHRIYLROHQFHXQGHU F ¶VIRUFHFODXVHVR+DOOZDVSURSHUO\FRQYLFWHG
   DQGVHQWHQFHG
   %         &HUWLILFDWHRI$SSHDODELOLW\
              7RDSSHDOWKLVRUGHU+DOOQHHGVDFHUWLILFDWHRIDSSHDODELOLW\IURPDFLUFXLWRUGLVWULFWMXGJH
   ,QGHFLGLQJZKHWKHUWRJUDQWRQH,FRQVLGHULI³UHDVRQDEOHMXULVWVFRXOGGHEDWHZKHWKHU RUIRUWKDW
   PDWWHUDJUHHWKDW WKHSHWLWLRQVKRXOGKDYHEHHQUHVROYHGLQDGLIIHUHQWPDQQHURUWKDWWKHLVVXHV
   SUHVHQWHGZHUHDGHTXDWHWRGHVHUYHHQFRXUDJHPHQWWRSURFHHGIXUWKHU´7KLVVWDQGDUGLV

     :/DW  &'&DO-XQH United States v. Lenzy:/DW 
       1'*D)HE United States v. Williams)6XSSG '0H 

       
            Moncrieffe v. Holder6&W   TXRWDWLRQRPLWWHG 

       
            Gonzales v. Duenas-Alvarez86  

       
       7KHSDUWLHVDOVRGLVSXWHZKHWKHU+DOOLVSURFHGXUDOO\EDUUHGIURPEULQJLQJWKLVPRWLRQDQG
       ZKHWKHUJohnsonVKRXOGEHH[WHQGHGWR F ¶VUHVLGXDOFODXVH,QHHGQRW²DQGGRQRW²UHDFK
     WKHVHTXHVWLRQVEHFDXVH+DOO¶VPRWLRQIDLOVHYHQLI,DVVXPHWKDWKLVFKDOOHQJHLVSURSHUDQGJohnson
       LQYDOLGDWHV F ¶VUHVLGXDOFODXVH
     
            86& F  % )HG5$SS3 E  WK&LU5± D 
     
            Slack v. McDaniel86±   TXRWDWLRQRPLWWHG 

                                                       3DJHRI
     Case 2:12-cr-00132-JAD-VCF             Document 210         Filed 05/17/17     Page 6 of 6



    ³OHQLHQW´
               $OWKRXJK,KDYHHQGHDYRUHGWREHWUXHWRWKH1LQWK&LUFXLWJXLGDQFHLQWKLVRUGHUWKHWUXWKLV
    ZKHQDSSO\LQJWKH³KRSHOHVVWDQJOH´³RILQFRQVLVWHQWFDVHODZ´WKDWPDNHVXSWKHFDWHJRULFDOWHVW
    UHDVRQDEOHMXULVWVUDUHO\DJUHHRQDQ\WKLQJ,IROORZWKH1LQWK&LUFXLW¶VOHDGLQKROGLQJWKDW+REEV
    $FWUREEHU\TXDOLILHVDVDFULPHRIYLROHQFHEXWRWKHUFRXUWVKDYHKHOGRWKHUZLVH,WKXVJUDQW+DOO
    DFHUWLILFDWHRIDSSHDODELOLW\
                                                     &RQFOXVLRQ
               $FFRUGLQJO\,7,6+(5(%<25'(5('$'-8'*('$1''(&5(('WKDWWKH
    GHIHQGDQW¶VPRWLRQVWRYDFDWH>(&)1RV@DUH'(1,('
              ,7,6)857+(525'(5('WKDWDFHUWLILFDWHRIDSSHDODELOLW\LV*5$17('
              'DWHGWKLVWKGD\RI0D\
                                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                               BBBBBBBBBBBBBBBBBB
                                                                       BB     BBBBBBB
                                                                                    BBB
                                                                                     BBBB BBBB
                                                                                             B BB
                                                              -HQQLIHU$'RUVH\
                                                               HQQQLIHUU $'R
                                                                             'RRUVH\
                                                                             '        \
                                                            8QLWHG6WDWHV'LVWULFW-XGJH
                                                              8QLWHG
                                                                   HHG
                                                                     G 6WWDDWHV'LVWULUULLFW
                                                                                          F -XGJ













       
          Hayward v. Marshall)G WK&LU  HQEDQF 
       
         United States v. Ladwig)6XSSG (':DVK  QRWLQJWKDWWKLVWHVW³KDV
     VW\PLHGODZFOHUNVDQGMXGJHVDOLNHLQDPRUDVVRILQFRQVLVWHQWFDVHODZ´ 

                                                      3DJHRI
